

People v Perez (2022 NY Slip Op 07199)





People v Perez


2022 NY Slip Op 07199


Decided on December 20, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 20, 2022

Before: Manzanet-Daniels, J.P., Oing, Singh, Scarpulla, Pitt-Burke, JJ. 


SCI No. 203/18 Appeal No. 16951 Case No. Case No. 2019-1196 

[*1]The People of the State of New York, Respondent,
vJeremiah Perez, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Dalourny Nemorin of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Alan Gadlin of counsel), for respondent.



Judgment, Supreme Court, New York County (Laurie Peterson, J.), rendered March 22, 2018, as amended August 23, 2018, convicting defendant, upon his plea of guilty, of aggravated criminal contempt, and sentencing him to a term of one year, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers and the People's consent, we vacate the surcharge and fees imposed at sentencing on the above-described Supreme Court conviction (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We need not determine whether defendant's waiver of appeal was valid, given the People's consent, by which they agree to "waive[ ] the waiver" (Garza v Idaho, 586 US &amp;mdash, &amp;mdash, 139 S Ct 738, 745 [2019]).
To the extent defendant's brief refers to a Criminal Court matter, which was never transferred to Supreme Court, in which defendant pleaded guilty to disorderly conduct, we have no jurisdiction to grant any relief because an appeal from a Criminal Court conviction must be taken to the Supreme Court, Appellate Term, First Department (CPL 450.60[4]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 20, 2022








